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 1
     CHAD A. READLER
     Acting Assistant Attorney General
 2   Civil Division
     AUGUST E. FLENTJE
 3
     Special Counsel to the Assistant Attorney General
 4   Civil Division
     WILLIAM C. PEACHEY
 5
     Director, District Court Section
 6   Office of Immigration Litigation
     WILLIAM C. SILVIS
 7
     Assistant Director, District Court Section
 8   Office of Immigration Litigation
     SARAH B. FABIAN
 9
     Senior Litigation Counsel, District Court Section
10   VINITA B. ANDRAPALLIYAL
     Trial Attorney
11
     Office of Immigration Litigation
12          P.O. Box 868, Ben Franklin Station
            Washington, D.C. 20044
13
            Tel: (202) 598-8085
14          Fax: (202) 305-7000
            Email: Vinita.b.andrapalliyal@usdoj.gov
15

16   Attorneys for Defendants

17
                          UNITED STATES DISTRICT COURT
18
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
19
     JENNY LISETTE FLORES; et al.,             )   Case No. CV 85-4544
20                                             )
21
            Plaintiffs,                        )   Defendants’ (Unopposed) Ex Parte Motion
                                               )   to Extend Briefing Schedule for Plaintiffs’
22               v.                            )   Motion for Fees and Costs
                                               )
23
     JEFFERSON B. SESSIONS III,                )   Memorandum of Points and
24   Attorney General of the United States; et )   Authorities;
25
     al.,                                      )   Declaration;
                                               )
26          Defendants.                        )   [PROPOSED] Order.
                                               )
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 1
                  Defendants’ (Unopposed) Ex Parte Application for Extension
 2
           Pursuant to Local Rule 7-19, Defendants hereby apply ex parte for an order
 3
     from this Court extending the motion hearing date on Plaintiffs’ Motion for Fees
 4
     and Costs under the Equal Access to Justice Act from June 9, 2017 to June 23,
 5
     2017, or as soon thereafter as may be scheduled by the Court, with the related
 6
     motion response dates also extendedas follows: Defendants’ opposition to
 7
     Plaintiffs’ Fees Motion would be due on or before May 12, 2017; and Plaintiffs’
 8
     reply brief, if any, will be filed on or before June 9, 2017.
 9
           Defendants request this continuance and extension of time for the reasons set
10
     forth in the accompanying memorandum of points and authorities and Declaration.
11
     Counsel for Defendants’ reached out to counsel for Plaintiffs by email, and counsel
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     for Plaintiffs has stated that Plaintiffs will not oppose this Application.
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 1
      Dated: April 24, 2017    Respectfully submitted

 2                             CHAD A. READLER
 3                             Acting Assistant Attorney General
                               Civil Division
 4

 5                             AUGUST E. FLENTJE
                               Special Counsel to the Assistant Attorney General
 6
                               Civil Division
 7

 8
                               WILLIAM C. PEACHEY
                               Director
 9

10                             WILLIAM C. SILVIS
                               Assistant Director
11

12                             SARAH B. FABIAN
13
                               Senior Litigation Counsel

14                             By: /s/ Vinita B. Andrapalliyal
15                             VINITA B. ANDRAPALLIYAL
                               Trial Attorney
16
                               United States Department of Justice
17                             Civil Division
18
                               Office of Immigration Litigation
                               District Court Section
19                             P.O. Box 868, Ben Franklin Station
20                             Washington, DC 20044
                               Telephone: (202) 598-8085
21
                               Facsimile: (202) 305-7000
22                             Email: Vinita.b.andrapalliyal@usdoj.gov
23
                               Attorneys for Defendants
24

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 1
                              CERTIFICATE OF SERVICE
 2   CASE NO. CV 85-cv-4544
 3
           I certify that on April 24, 2017, I served a copy of the foregoing pleading on
 4

 5   all counsel of record by means of the District Court’s CM/ECF electronic filing
 6
     system.
 7

 8                                                /s/ Vinita B. Andrapalliyal
 9
                                                  VINITA B. ANDRAPALLIYAL
10                                                Trial Attorney
                                                  United States Department of Justice
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